Case 0:04-cv-60573-FAM Document 2053 Entered on FLSD Docket 03/28/2008 Page 1 of 1


                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

                               Case Number: 04-60573-CIV-MORENO

   SECURITIES            AND        EXCHANGE
   COMMISSION,

          Plaintiff,

   vs.

   MUTUAL BENEFITS CORP., et al.,

          Defendants,

   VIATICAL BENEFACTORS, LLC, et al.,

         Relief Defendants.
   _____________________________________/

                 ORDER GRANTING MOTION FOR LIMITED APPEARANCE

          THIS CAUSE came before the Court upon Credit Suisse Securities (Europe) Limited’s

   Motion for Limited Appearance, Consent to Designation and Request to Electronically Receive

   Notices of Electronic Filings (D.E. No. 2049), filed on March 27, 2008.

          THE COURT has considered the motion and the pertinent portions of the record, and being

   otherwise fully advised in the premises, it is

          ADJUDGED that the motion is GRANTED. Geoffrey T. Raicht is granted to appear and

   participate in this action on behalf of Credit Suisse Securities (Europe) Limited.

          DONE AND ORDERED in Chambers at Miami, Florida, this 28 day of March, 2008.


                                                         _______________________________________
                                                         FEDERICO A. MORENO
                                                         UNITED STATES DISTRICT JUDGE

   Copies provided to:

   Counsel of Record
